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  8                            UNITED STATES DISTRICT COURT

  9                  CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION

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 11    TORRANCE EGAN BLACK,                   CASE NO. CV 20-11823-MCS(AS)

 12                         Petitioner,       ORDER ACCEPTING FINDINGS,
 13             v.                            CONCLUSIONS AND
 14    JIM ROBERTSON,                         RECOMMENDATIONS OF UNITED
 15                         Respondent.       STATES MAGISTRATE JUDGE
 16

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 18         Pursuant to 28 U.S.C. § 636, the Court has reviewed the First
 19   Amended Petition, all the records herein and the attached Final
 20   Report and Recommendation of United States Magistrate Judge.          After

 21   having made a de novo determination of the portions of the initial

 22   Report and Recommendation to which objections were directed, 1 the

 23   Court concurs with and accepts the findings and conclusions of the

 24   Magistrate Judge.

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 26
            1  Petitioner’s objections, filed on April 23, 2021, (Docket
 27   No. 19),    have  been   addressed  in   the   Final  Report   and
      Recommendation.
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  1         IT IS ORDERED that Judgment shall be entered denying and

  2   dismissing the First Amended Petition without prejudice.

  3

  4         IT IS FURTHER ORDERED that the Clerk serve copies of this

  5   Order, the Magistrate Judge’s Final Report and Recommendation and

  6   the Judgment herein on Petitioner and counsel for Defendant.

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            LET JUDGMENT BE ENTERED ACCORDINGLY.
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  9   DATED: _April 28, 2021_
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                                                                                 _
 11                                                   MARK C. SCARSI
                                                UNITED STATES DISTRICT JUDGE
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